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                   EXHIBIT 13
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From: Cra ig s wri ght
To: dave@davek lei man. com
subject : Thi s week
Dat e: Tue, 22 May 2012 09:45:31 +1000
Dave,
A recyc le d r ant . I have done th e same to Ramona.
It   i s not a good severa l weeks from now. Tomorrow I have the AATand then teach i ng. Toni ght changes and wri t i ng. Thursday, webi nars and more. I return            a week from now even bus i er . The
fo ll owi ng few months ar e bas i ca ll y hell wi th l ess hea t.
CSU wants to expan d what I can do and al so have a backup, so they have moved me to a subject I do not li ke much f r om one I sta rt ed and l ove next semester . I am not teach i ng the eth i ca l
hack i n'1 c l ass next semeste r , but rather I am teach i ng wi ndows domai n management (A subject I know but fi nd bor i ng) . Knowi ng I have to s pend the next 4 months f r om when I r etu r n doi ng
somet hi ng I do not enjoy far l ess than I thought adds li tt l e to removi ng my stress .
I have mi ssed my dead li ne wi th Hak i n9 and will mi ss the journa l fo r the f i rst t i me i n 9 months . I know I will not have t i me at a ll over the weekend to wri te,    so I have unt il Thur sday
night to f i ni sh edi t i ng 172 pages for Bob and the book cha pters . Thi s i s a hard dead li ne and I cannot mi ss i t . Ri ght now, I have 168 pages to go.
I am s tr essed r i ght now. FUCKI
                                 NG ARG
                                      HHHH
                                         !
I st ill have not started rev i ewi ng my s li des and I am no cl oser wi th the work for FASV. They have no rea l i dea what, but i t cou l d be a way to he l p wi th funds as I f i nd a means to make
a Bi tco i n extension that cannot be l ost . one that i s money you do not l ose when you di e, but i s st ill all Bi tco i n i s . They st ill crap all over my pape r and di smi ss i t . Bl oody academi c
cryptographe r s . The Bl ockcha i n i s bette r than they will eve r do and they a ll fuck i ng di smi ss i t . Fucki ng Sche i ner sto l e my ear ly i deas now the pr i ck sh i ts a ll over the new ones . one
day .
The meet i ng wi th the AATshou l d have occurred weeks ago, but        the ATOhave sta ll ed and put i t off . John has a ll the materi al s and the ATOar e s i mpl y BS' i ng aga i n. It costs me money and
i n a way I ';IUess they want to get a resu l t through att ri t i on   r ather than honesty . They will dra i n a ll I have i f they can . we do not touch the t r usts . Not yet . Not even for th i s . ONE
DAY, they will change the world. Not milli ons, not billi ons .         If I am right, they will be tr illi ons and l et them try sh i t on us then. FUCKING DICKS. Bl oody l yi ng ATOcock suck i ng
bastards! They l ost ev i dence and use my temper aga i nst me. I       hate the i r li es . I di d everyth i ng r i ght and I am STILL puni shed.
I am not spend i ng t i me wi th famil y. I fa il to talk wi th you Dave othe r thasn r ants and work. I am sorry,      but I have noth i ng much more than r ants and work. Thi s dr i ves me.
I need more t i me. I need to have time to do what it takes.
I woul d sel l my grandmother for banking code. I am not gett i ng what I need. I have been doin'1 core banking rev i ews and these help wi th the mi ddle wear and the process,                but I NEEDcode.
NO TIME. NO access and a fuck i ng recalcitrant bl oody tax office who thinks I am the anti-chr i st.
I need a way to get someth i ng soon . I need an EROat l east . I will wor k for a bl oody bank i f I need to . I have fr i ends i n the commonwealth Bank her e, but I just want sou r ce code . why
i s i t so hard to get? And aga i n, i t i s the bl oody ATO. They have made i t so fuck i ng hard wi th the c l os i ng of my compani es .
